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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                            Chapter 11

    Desolation Holdings LLC, et al., 1                Case No. 23-10597 (BLS)

             Debtors.                                 (Jointly Administered)

                                                      Ref. Docket No. 8


         INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO (A) CONTINUE TO
     OPERATE THEIR CASH MANAGEMENT SYSTEM, (B) HONOR CERTAIN PRE-
       PETITION OBLIGATIONS RELATED THERETO, AND (C) CONTINUE TO
    PERFORM INTERCOMPANY TRANSACTIONS, (II) GRANTING SUPERPRIORITY
     ADMINISTRATIVE EXPENSE STATUS TO POST-PETITION INTERCOMPANY
               BALANCES, AND (III) GRANTING RELATED RELIEF


             Upon the motion (the “Motion”) 2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an interim order (this “Interim Order”): (a) authorizing,

but not directing, the Debtors to (i) continue to operate their cash management system (the “Cash

Management System”); (ii) honor certain pre-petition obligations related thereto; and (iii) continue

to perform Intercompany Transactions consistent with historical practice; (b) granting

superpriority administrative expense status to post-petition intercompany balances; and (c)

scheduling a final hearing to consider approval of the Motion on a final basis, all as more fully set

forth in the Motion; and upon the First Day Declaration; and this Court having jurisdiction over

this matter pursuant to 28 U.S.C. § 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, entered February 29, 2012; and that this


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax
      identification number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta
      Holdings Ltd. (2227); and Bittrex Malta Ltd. (1764). The mailing and service address of the Debtors
      is 701 5th Avenue, Suite 4200, Seattle, WA 98104.
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      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the
      Motion.
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Court having the power to enter a final order consistent with Article III of the United States

Constitution; and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core proceeding

pursuant to 28 U.S.C. § 157(b); and this Court having found that proper and adequate notice of the

Motion and the relief requested therein has been provided in accordance with the Bankruptcy Rules

and the Local Rules, and that, except as otherwise ordered herein, no other or further notice is

necessary; and objections (if any) to the Motion having been withdrawn, resolved or overruled on

the merits; and a hearing having been held to consider the relief requested in the Motion and upon

the record of the hearing and all of the proceedings had before this Court; and that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and after due

deliberation and sufficient cause appearing therefor;

       IT IS HEREBY ORDERED THAT

       1.      The Motion is granted on an interim basis as set forth herein.

       2.      The final hearing with respect to this Motion shall be held on June 7, 2023 at 11:00

a.m. (prevailing Eastern Time). Any objections or responses to entry of the proposed Final Order

shall be filed on or before 4:00 p.m. (prevailing Eastern Time) on May 31, 2023 and served on

the following parties: (a) proposed co-counsel to the Debtors, (i) Quinn Emanuel Urquhart &

Sullivan, LLP, 51 Madison Ave 22nd floor, New York, NY 10010, Attn: Susheel Kirpalani

(susheelkirpalani@quinnemanuel.com);                    Patricia             B.              Tomasco

(pattytomasco@quinnemanuel.com), Daniel Holzman (danielholzman@quinnemanuel.com), and

qe-bittrex@quinnemanuel.com, and (ii) Young Conaway Stargatt & Taylor, LLP, Wilmington,

Rodney Square, 1000 North King Street, Wilmington, DE 19801, Attn: Robert S. Brady

(rbrady@ycst.com), Kenneth Enos (kenos@ycst.com), and Joshua Brooks (jbrooks@ycst.com);
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(b) counsel to any statutory committee appointed in these Chapter 11 Cases; (c) the U.S. Trustee,

844 King Street, Suite 2207, Wilmington, DE 19801, Attn: Richard L. Schepacarter

(richard.schepacarter@usdoj.gov); and (d) to the extent not listed herein, those parties requesting

notice pursuant to Bankruptcy Rule 2002. If no objections are timely filed, this Court may enter

the Final Order without further notice or a hearing.

       3.      The Debtors are authorized, on an interim basis and in their sole discretion, to: (a)

continue operating the Cash Management System, substantially as illustrated on Exhibit 1 attached

hereto; (b) honor their pre-petition obligations related thereto; and (c) continue to perform

Intercompany Transactions consistent with historical practice.

       4.      The Debtors are authorized, on an interim basis and in their sole discretion, to: (a)

continue to use, with the same account numbers, the Bank Accounts in existence as of the Petition

Date, including those Bank Accounts identified on Exhibit 2 attached hereto; (b) treat the Bank

Accounts for all purposes as accounts of the Debtors as debtors in possession; (c) deposit funds in

and withdraw funds from the Bank Accounts by all usual means, including checks, wire transfers,

and other debits; (d) pay all pre-petition Bank Fees; and (e) pay any ordinary course Bank Fees

incurred in connection with the Bank Accounts, irrespective of whether such fees arose prior to

the Petition Date, and to otherwise perform their obligations under the documents governing the

Bank Accounts.

       5.      The Debtors are authorized, but not directed, to continue using, in their present

form, the Business Forms, as well as checks and other documents related to the Bank Accounts

existing immediately before the Petition Date, without reference to the Debtors’ status as debtors

in possession; provided that once the Debtors have exhausted their existing stock of Business

Forms, the Debtors shall ensure that any new Business Forms are clearly labeled “Debtor-In-
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Possession”; provided, further, with respect to any Business Forms that exist or are generated

electronically, to the extent reasonably practicable, the Debtors shall ensure that such electronic

Business Forms are clearly labeled “Debtor-In-Possession.”

       6.        The Banks at which the Bank Accounts are maintained are authorized to continue

to maintain, service, and administer the Bank Accounts as accounts of the Debtors as debtors in

possession without interruption and in the ordinary course, and to receive, process, honor, and pay,

to the extent of available funds, any and all checks, drafts, wires, and ACH transfers issued and

drawn on the Bank Accounts after the Petition Date by the holders or makers thereof, as the case

may be.

       7.        All Banks provided with notice of this Interim Order maintaining any of the Bank

Accounts shall not honor or pay any bank payments drawn on the listed Bank Accounts, or

otherwise issued before the Petition Date, absent further direction from the Debtors.

       8.        The Debtors will maintain records in the ordinary course reflecting transfers of

cash, if any, including Intercompany Transactions, so as to permit all such transactions to be

ascertainable.

       9.        In the course of providing cash management services to the Debtors, the Banks at

which the Bank Accounts are maintained are authorized, without further order of the Court, to

deduct the applicable fees and expenses associated with the nature of the deposit and cash

management services rendered to the Debtors, whether arising pre-petition or post-petition, from

the appropriate accounts of the Debtors, and further, to charge back to, and take and apply reserves

from, the appropriate accounts of the Debtors any amounts resulting from returned checks or other

returned items, including returned items that result from ACH transactions, wire transfers,

merchant services transactions or other electronic transfers of any kind, regardless of whether such
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items were deposited or transferred pre-petition or post-petition and regardless of whether the

returned items relate to pre-petition or post-petition items or transfers.

       10.     Each Bank is authorized to debit the Debtors’ accounts in the ordinary course of

business without the need for further order of the Court for: (a) all checks drawn on the Debtors’

accounts which are cashed at such Bank’s counters or exchanged for cashier’s checks by the payees

thereof prior to the Petition Date; (b) all checks or other items deposited in one of the Debtors’

accounts with such Bank prior to the Petition Date which have been dishonored or returned unpaid

for any reason, together with any fees and costs in connection therewith, to the same extent the

Debtors were responsible for such items prior to the Petition Date; (c) all undisputed pre-petition

amounts outstanding as of the date hereof, if any, owed to any Bank as service charges for the

maintenance of the Cash Management System; and (d) all reversals, returns, refunds, and

chargebacks of checks, deposited items, and other debits credited to Debtor’s account after the

Petition Date, regardless of the reason such item is returned or reversed (including, without

limitation, for insufficient funds or a consumer’s statutory right to reverse a charge).

       11.     The Debtors are authorized to open any new bank accounts or close any existing

Bank Accounts as they may deem necessary and appropriate in their sole discretion; provided that

in the event the Debtors open a new bank account they shall open one at an authorized depository

and shall timely indicate the opening of such account on the Debtors’ monthly operating report

and shall provide five (5) days advance notice of the opening of any new bank accounts or closing

of any Bank Account to the U.S. Trustee.

       12.     Each of the Banks may rely on the representations of the Debtors with respect to

whether any check or other payment order drawn or issued by the Debtors prior to the Petition

Date should be honored pursuant to this or any other order of the Court, and such Bank shall not
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have any liability to any party for relying on such representations by the Debtors as provided for

herein.

          13.   Those agreements existing between the Debtors and the Banks shall continue to

govern the post-petition cash management relationship between the Debtors and the Banks, subject

to applicable bankruptcy or other law, all of the provisions of such agreements, including the

termination, fee provisions, rights, benefits, offset rights and remedies afforded under such

agreements shall remain in full force and effect absent further order of the Court or, with respect

to any such agreement with any Bank (including, for the avoidance of doubt, any rights of a Bank

to use funds from the Bank Accounts to remedy any overdraft of another Bank Account to the

extent permitted under the applicable deposit agreement), unless the Debtors and such Bank agree

otherwise, and any other legal rights and remedies afforded to the Banks under applicable law shall

be preserved, subject to applicable bankruptcy law.

          14.   The requirement to establish separate bank accounts for cash collateral and/or tax

payments is hereby waived.

          15.   Notwithstanding anything to the contrary set forth herein, the Debtors are

authorized, but not directed, to continue Intercompany Transactions arising from or related to the

operation of their businesses in the ordinary course; provided that each Debtor shall (a) continue

to pay its own obligations consistent with such Debtor’s past practice with respect to Intercompany

Transactions and related obligations, and in no event shall any of the Debtors pay for the pre-

petition or post-petition obligations incurred or owed by any of the other Debtors in a manner

inconsistent with past practices; and (b) beginning on the Petition Date, maintain (i) current records

of intercompany balances; (ii) a Debtor by Debtor summary on a monthly basis of any post-petition

Intercompany Transactions involving the transfer of cash for the preceding month (to be available
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on the 21st day of the following month); and (iii) reasonable access to the Debtors’ advisors with

respect to such records.

       16.     Notwithstanding the Debtors’ use of a consolidated Cash Management System, the

Debtors shall calculate quarterly fees under 28 U.S.C. § 1930(a)(6) based on the disbursements of

each Debtor, regardless of which entity pays those disbursements.

       17.     Those certain existing deposit and service agreements between the Debtors and the

Banks shall continue to govern the post-petition cash management relationship between the Debtor

and the Banks, and that all of the provisions of such agreements, including, without limitation, the

termination, chargeback, and fee provisions, shall remain in full force and effect.

       18.     The Debtors and the Banks may, without further order of the Court, agree to and

implement changes to the Cash Management System and procedures in the ordinary course of

business, including, without limitation, the opening and closing of bank accounts; provided that in

the event the Debtors open a new bank account they shall open one at an authorized depository;

provided, further, that the Debtors shall give five (5) days’ notice of the opening of any new bank

accounts or closing of any Bank Account to the U.S. Trustee.

       19.     The Debtors are authorized to issue post-petition checks, or to effect post-petition

fund transfer requests, in replacement of any checks or fund transfer requests that are dishonored

as a consequence of these chapter 11 cases with respect to pre-petition amounts owed in connection

with any Bank Fees.

       20.     Notwithstanding the relief granted in this Interim Order and any actions taken

pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

validity of any particular claim against the Debtors; (b) a waiver of the Debtors’ rights to dispute

any particular claim on any grounds; (c) a promise or requirement to pay any particular claim; (d)
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an implication or admission that any particular claim is of a type specified or defined in this Interim

Order or the Motion; (e) a request or authorization to assume any agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code; (f) a waiver or limitation of the Debtors’ rights

under the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors that

any liens (contractual, common law, statutory, or otherwise) satisfied pursuant to the Motion are

valid, and the Debtors expressly reserve their rights to contest the extent, validity, or perfection or

seek avoidance of all such liens. Any payment made pursuant to this Interim Order is not intended

and should not be construed as an admission as the validity of any particular claim or a waiver of

the Debtors’ rights to subsequently dispute such claim.

        21.      The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the pre-petition obligations approved herein are authorized

and directed to receive, process, honor, and pay all such checks and electronic payment requests

when presented for payment, and all such banks and financial institutions are authorized to rely on

the Debtors’ designation of any particular check or electronic payment request as approved by this

Interim Order.

        22.      Nothing in this Interim Order shall modify or impair the ability of any party in

interest to contest how the Debtors account, including, without limitation, the validity or amount

set forth in such accounting for any Intercompany Transaction or Intercompany Balance. The

rights of all parties in interest with the respect thereto are fully preserved.

        23.      The Debtors shall have thirty (30) days, without prejudice to seeking an additional

extension, from the entry of this Interim Order to either come into compliance with section 345(b)

of the Bankruptcy Code or to seek appropriate relief from the Court.
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       24.     As soon as practicable after entry of this Interim Order, the Debtors shall serve a

copy of this Interim Order on the Banks.

       25.     The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

       26.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       27.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order are immediately effective and enforceable upon its entry.

       28.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.

       29.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order.

       30.     For banks at which the Debtors hold bank accounts that are party to a Uniform

Depository Agreement with the Office of the United States Trustee for the District of Delaware

(the “U.S. Trustee”), within fifteen (15) days of the date of entry of this Order the Debtors shall

(a) contact each bank, (b) provide the bank with each of the Debtors' employer identification

numbers and (c) identify each of their bank accounts held at such banks as being held by a debtor

in possession in a bankruptcy case, and provide the case number.

       31.     For banks at which the Debtors hold accounts that are not party to a Uniform

Depository Agreement with the U.S. Trustee, the Debtors shall use their good-faith efforts to cause

the banks to execute a Uniform Depository agreement in a form prescribed by the U.S. Trustee

within thirty (30) days of the date of this Order. The U.S. Trustee's rights to seek further relief
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from this Court on notice in the event that the aforementioned banks are unwilling to execute a

Uniform Depository Agreement in a form prescribed by the U.S. Trustee are fully reserved.

       32.     The Debtors shall maintain accurate and detailed records of all transfers, including

but not limited to, intercompany transfers, so that all transactions may be readily ascertained,

traced, recorded properly and distinguished between prepetition and post-petition transactions.




                                            BRENDAN L. SHANNON
                                            UNITED STATES BANKRUPTCY JUDGE




       Dated: May 10th, 2023
       Wilmington, Delaware
